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13                                        UNITED STATES DISTRICT COURT
14                                    EASTERN DISTRICT OF CALIFORNIA
15
16   UNITED STATES OF AMERICA,                        No. 2:15-CR-0235-TLN

17                           Plaintiff,               STIPULATION AND ORDER

18             v.

19   DUMITRU MARTIN,                                  Hon. Troy L. Nunley
                                                      U.S. District Judge
20                           Defendant.

21
22             Defendant, DUMITRU MARTIN, by and through his attorneys, and plaintiff, UNITED
23   STATES OF AMERICA, by and through its counsel, hereby stipulate to extend the due date for
24   the filing of defendant’s motion for judgment of acquittal under Federal Rule of Criminal

25   Procedure 29(c) and/or motion for new trial under Federal Rule of Criminal Procedure 33 from

26   September 14, 2016 to October 12, 2016, to give the defense additional time to review and

27   prepare such motions.

28

     Stipulation and Order                             1
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1              IT IS SO STIPULATED.
2    Dated: September 14, 2016          Dated: September 14, 2016
3
     PHILLIP A. TALBERT
4    Acting United States Attorney
5
     /s/ Michael Beckwith                       /s/John Balazs
6    MICHAEL BECKWITH                          JOHN BALAZS
     Assistant U.S. Attorney
7
     Attorney for Plaintiff                    Attorney for Defendant
8    UNITED STATES OF AMERICA                  DUMITRU MARTIN
9
10                                      ORDER
11             IT IS SO ORDERED.
12   Dated: September 14, 2016
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14                                         Troy L. Nunley
                                           United States District Judge
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     Stipulation and Order                 2
